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                                                    November 14, 2019

     VIA ECF
     The Honorable Gary R. Brown, Magistrate Judge
     United States District Court, Eastern District of New York
     1 Q0 federal Plaza, Courtroom 84O
     P.O, Box 9014
     Central Islip, New York 11722

               Re:     John Doe v. Hofstra University et al.
                       Docket No. 2:19-cv-02064-JMA-GRB

     Dear Magistrate Judge Brown:

            `The undersigned firm represents the Plaintiff, John Doe, in the above-referenced matter,
     and respectfully submits this letter request fora 30-day adjournment of the discovery conference
     currently scheduled for November 19, 2019.(ECF Docket Entry dated 10/4/19). The Defendants
     consent to this adjournment request.

             The parties have exchanged Phase I discovery and have begun discussions of a possible
     resolution to the litigation. In the interest of efficiency for both the Court and the parties, the
     parties therefore seek additional time to potentially resolve this matter.

             Vie respectfully request that the Court approve this joint request and grant athirty-day
     ~.djc~urnment of the scheduling conference and respective Phase II discovery deadlines. Thank
     you for your time and consideration.



                                                                     Respectfully submitted,
                                                                     NESENOFF & MILTENBERG,LLP


                                                                     By:     /s/
                                                                           Adrienne Levy, Esq.

     Cc e All counsel (via ECF)



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